UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NORTH CAROLINA
SOUTHERN DIVISION

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UNITED STATES OF AMERICA

 

V. I N D I C T M E N T

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KODY RAY BRITTINGHAM
The Grand Jury charges:
In or about November, 2008, the exact date being unknown to
the Grand Jury, in the Eastern District of North Carolina, the
defendant, KODY RAY BRITTINGHAM, did knowingly and willfully make
a threat to take the life of, and to inflict bodily harm upon, the
President-elect of the United States.

All in violation of Title 18, United States Code, Section 871.

A TRUE BILL

 

GEORGE E. B. HOLDING
United States Attorney

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BY= @§IC EvENSoN
Assistant United States Attorney

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